IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA
EASTERN DIVISION

No. 4:13-CR-6-BO

UNITED STATES OF AMERICA )
) ORDER
v. ) AMENDING JUDGMENT
)
TRON LAKEY DAVIS )

Upon request by the government, on November 27, 2013, the Court reopened the
sentencing hearing in this matter so that the government might correct the record. In so doing,
the Court considered the government’s recitation regarding defendant’s cooperation. The Court
then incorporated its findings from defendant’s sentencing hearing conducted on November 15,
2013, by reference, and ordered that the sentence imposed thereon shall remain in effect. The
Court amended its judgment to include a recommendation that defendant be incarcerated at F.C.I.
Butner. Except as herein modified, all other conditions of the original judgment shall remain in

full force and effect.

SO ORDERED, this 27th day of November, 2013.

W/Qa»/(

T‘ERRENCE W. BoYLE
UNITED sTATEs DlsTRICT DGE

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